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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ASPEN SPECIALTY INSURANCE                    CIVIL ACTION
COMPANY,
               Plaintiff,

           v.
                                             NO. 16-1133
HOSPITALITY SUPPORTIVE
SYSTEMS, LLC,
EDWARD E. SNOW,
THE CARMAN CORPORATION,
SELECTIVE RISK MANAGEMENT,
LLC, SELECTIVE LAW GROUP, LLC,
JOHN W. CONNELLY, JR., CHARLES
M. O’DONNELL, ESQ., McGRIFF
SIEBELS & WILLIAMS, INC.,
INSERVCO INSURANCE SERVICES,
INC., TRIGEN INSURANCE
SOLUTIONS, INC.,
TRIGEN HOSPITALITY GROUP, INC.,
PATRIOT UNDERWRITERS, INC.,
PATRIOT NATIONAL, INC.,
ABC CORPORATIONS 1-25,
CHICKIE’S AND PETE’S, INC.,
4010, INC.,
PACKER CAFÉ, INC., trading as
“CHICKIE’S & PETE’S,”
4010, LLC
POQUESSING MANAGEMENT, LLC
POQUESSING PROFESSIONAL
BUILDING, LLC,
CPC INTERNATIONAL, LLC, trading as
“ PHILADELPHIA’S FAMOUS C&P,”
WRIGHT FOOD SERVICES, LLC,
CPC BUCKS, LLC,
AUDUBON CPC, LLC,
WARRINGTON CPC, LLC
DREXEL HILL CPC, LLC,
VENUE FOOD SERVICES, LLC
CRABCO PA GP LLC,
130 CRABCO REALTY NJ, LLC,
130 CRABCO NJ, LLC, trading as “
CHICKIE’S AND PETE’S,”
EHT CRABCO NJ, LLC, trading as
“CHICKIE’S AND PETE’S,”
WW-CPC, LLC,
OC-CPC,LLC,
AC-CPC,LLC
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CRABCO ENTERPRISES, LLC
CPC PROPERTIES, INC.,
CRABCO ENTERPRISES PA LP,
PALMER SOCIAL CLUB, INC., and
RAVEL HOTEL, LLC, trading as
“PENTHOUSE 808”
                Defendants.
HOSPITALITY SUPPORTIVE
SYSTEMS, LLC,
                Plaintiff,

          v.

ASPEN SPECIALTY INSURANCE
COMPANY,
               Defendant.


BALIS FAMILY RESTAURANT CORP.,               CIVIL ACTION
and
ADELPHIA DEPTFORD, INC.,
collectively trading as “ADELPHIA
RESTAURANT,”
                      Plaintiffs,            NO. 19-189

          v.

HOSPITALITY SUPPORTIVE
SYSTEMS, LLC,
EDWARD SNOW,
JOHN W. CONNELLY, JR.,
SELECTIVE RISK MANAGEMENT,
LLC, SELECTIVE LAW GROUP, LLC,
CHARLES M. O’DONNELL,
ANTHONY DiiENNO,
ASPEN SPECIALTY INSURANCE
COMPANY,
AMTRUST INTERNATIONAL
UNDERWRITERS, LTD.,
TORUS NATIONAL INSURANCE
COMPANY, trading as “STARSTONE
NATIONAL INSURANCE COMPANY,”
COLONY INSURANCE COMPANY,
AMERICAN GUARANTEE AND
LIABILITY COMPANY,
STAR INDEMNITY AND LIABILITY,
JOHN/JANE DOE(S) 1-10, and
ABC ENTITIES 1-10,
                 Defendants.
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                                          ORDER

       AND NOW, this 20th day of February, 2020, upon consideration of the stipulation dated

February 11, 2020, to consolidate the above captioned actions, as approved by the Court, IT IS

ORDERED as follows:

       1.      All documents filed in Civil Action No. 19-189 shall be TRANSFERRED to

Civil Action No. 16-1133. There shall be no further filings in Civil Action No. 19-189;

       2.      The Clerk of Court shall CLOSE Civil Action No. 19-189; and,

       3.      The caption for Civil Action No. 16-1133 shall be AMENDED, as follows:



 ASPEN SPECIALTY INSURANCE                                 CIVIL ACTION
 COMPANY,
                Plaintiff,

                v.
                                                           NO. 16-1133
 HOSPITALITY SUPPORTIVE
 SYSTEMS, LLC,
 EDWARD E. SNOW,
 THE CARMAN CORPORATION,
 SELECTIVE RISK MANAGEMENT,
 LLC, SELECTIVE LAW GROUP, LLC,
 JOHN W. CONNELLY, JR., CHARLES
 M. O’DONNELL, ESQ., McGRIFF
 SIEBELS & WILLIAMS, INC.,
 INSERVCO INSURANCE SERVICES,
 INC., TRIGEN INSURANCE
 SOLUTIONS, INC.,
 TRIGEN HOSPITALITY GROUP, INC.,
 PATRIOT UNDERWRITERS, INC.,
 PATRIOT NATIONAL, INC.,
 ABC CORPORATIONS 1-25,
 CHICKIE’S AND PETE’S, INC.,
 4010, INC.,
 PACKER CAFÉ, INC., trading as
 “CHICKIE’S & PETE’S,”
 4010, LLC
 POQUESSING MANAGEMENT, LLC
 POQUESSING PROFESSIONAL
 BUILDING, LLC,
                                               3
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CPC INTERNATIONAL, LLC, trading as
“ PHILADELPHIA’S FAMOUS C&P,”
WRIGHT FOOD SERVICES, LLC,
CPC BUCKS, LLC,
AUDUBON CPC, LLC,
WARRINGTON CPC, LLC
DREXEL HILL CPC, LLC,
VENUE FOOD SERVICES, LLC
CRABCO PA GP LLC,
130 CRABCO REALTY NJ, LLC,
130 CRABCO NJ, LLC, trading as “
CHICKIE’S AND PETE’S,”
EHT CRABCO NJ, LLC, trading as
“CHICKIE’S AND PETE’S,”
WW-CPC, LLC,
OC-CPC,LLC,
AC-CPC,LLC
CRABCO ENTERPRISES, LLC
CPC PROPERTIES, INC.,
CRABCO ENTERPRISES PA LP,
PALMER SOCIAL CLUB, INC., and
RAVEL HOTEL, LLC, trading as
“PENTHOUSE 808”
                Defendants.
HOSPITALITY SUPPORTIVE
SYSTEMS, LLC,
                Plaintiff,

           v.

ASPEN SPECIALTY INSURANCE
COMPANY,
                      Defendant.
BALIS FAMILY RESTAURANT CORP.,
and
ADELPHIA DEPTFORD, INC.,
collectively trading as “ADELPHIA
RESTAURANT,”
                      Plaintiffs,

           v.

HOSPITALITY SUPPORTIVE
SYSTEMS, LLC,
EDWARD SNOW,
JOHN W. CONNELLY, JR.,
SELECTIVE RISK MANAGEMENT,
LLC, SELECTIVE LAW GROUP, LLC,
CHARLES M. O’DONNELL,
                                     4
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ANTHONY DiiENNO,
ASPEN SPECIALTY INSURANCE
COMPANY,
AMTRUST INTERNATIONAL
UNDERWRITERS, LTD.,
TORUS NATIONAL INSURANCE
COMPANY, trading as “STARSTONE
NATIONAL INSURANCE COMPANY,”
COLONY INSURANCE COMPANY,
AMERICAN GUARANTEE AND
LIABILITY COMPANY,
STAR INDEMNITY AND LIABILITY,
JOHN/JANE DOE(S) 1-10, and
ABC ENTITIES 1-10,
                 Defendants.


                                       BY THE COURT:

                                       /s/ Hon. Jan E. DuBois

                                         DuBOIS, JAN E., J.




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